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   8                        UNITED STATES DISTRICT COURT
   9                       CENTRAL DISTRICT OF CALIFORNIA
  10
        CAMERON GAINER, an individual         Case No.: 8:17-CV-00672
  11
                    Plaintiff,                [Hon. James V. Selna]
  12
              vs.                             ORDER CONTINUING HEARING
  13                                          DATE ON MOTIONS FOR
        THE KETCHUM GROUP, INC., et al,       SUMMARY JUDGMENT
  14
                    Defendant.
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               ORDER CONTINUING HEARING DATE FOR MOTIONS FOR SUMMARY JUDGMENT
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   1         PURSUANT TO THE STIPULATION OF THE PARTIES, AND GOOD
   2   CAUSE APPEARING THEREFOR, IT IS HEREBY ORDERED THAT:
   3         1.     Plaintiff’s Opposition to Defendant’s Motion for Summary Judgment
   4   shall be filed on or before June 18, 2018;
   5         2.     Defendant’s Reply Brief In Support of Summary Judgment shall be
   6   filed on or before June 25, 2018;
   7         3.     The hearing on the parties cross-motions for summary judgment be
   8   continued until July 16, 2018 at 1:30 p.m.
   9         SO ORDERED
  10
        DATED: June 11, 2018               By                             ________
  11                                             Hon. James V. Selna
                                           United States District Judge
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                   STIPULATION RE HEARING DATE FOR MOTIONS FOR SUMMARY JUDGMENT
